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                              UNITED STATES OF AMERICA
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION

UNITED STATES OF AMERICA,

               Plaintiff(s),

v.                                                           Case No. 2:12-cr-12-06

JEREMEY LEE CORNETT,                                         HON. R. ALLAN EDGAR

               Defendant(s).
                                             /

                                    ORDER OF DETENTION

               Defendant appeared before the undersigned on September 12, 2012, for an initial

appearance and arraignment on an indictment alleging violations of one count of Conspiracy to

Distribute Controlled Substances, 21 U.S.C. § 846, and two counts of Distribution of Heroin, 21

U.S.C. § 841(a)(1). The government filed a motion for detention, to which the defendant

objected and requested that a detention hearing be scheduled. On October 1, 2012, a detention

hearing was conducted. For the reasons stated on the record, the court finds that the defendant

presents a risk of flight. The government’s motion for detention is GRANTED and defendant is

ordered detained pending further proceedings.

               Therefore, IT IS HEREBY ORDERED that the defendant shall be committed to

the custody of the Attorney General or his designated representative for confinement in a

corrections facility separate, to the extent practicable, from persons awaiting or serving sentences

or being held in custody pending appeal. The defendant shall be afforded a reasonable

opportunity for private consultation with defense counsel. On order of a court of the United

States or on request of an attorney for the government, the person in charge of the corrections
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facility shall deliver the defendant to the United States Marshal for the purpose of an appearance

in connection with a court proceeding.

               IT IS SO ORDERED.

Dated: October 1, 2012                       /s/ Timothy P. Greeley
                                             TIMOTHY P. GREELEY
                                             UNITED STATES MAGISTRATE JUDGE
